                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 JOHN DOE,

         Plaintiff,                                Case No. 3:22-cv-00566

 v.                                                Judge William L. Campbell, Jr.
                                                   Magistrate Judge Alistair E. Newbern
 STATE OF TENNESSEE, et al.,

         Defendants.


                                             ORDER

        On August 26, 2022, Defendant Corrine Oliver filed motion to dismiss under Federal Rules

of Civil Procedure 12(b)(2) and 12(b)(4). (Doc. No. 33.) Under this Court’s Local Rule 7.01(a)(3),

the plaintiff shall file any response in opposition to the motion to dismiss no later than fourteen

days after being served with the motion. M.D. Tenn. R. 7.01(a)(3) (response). The defendants may

file an optional reply, limited to five pages, within seven days after service of the response. M.D.

Tenn. R. 7.01(a)(4) (reply). If service is made by mail, three days are added to the time period for

response or reply in accordance with Federal Rule of Civil Procedure 6. See Fed. R. Civ. P. 6(d).

        The plaintiff is warned that failure to file a timely response in opposition to the motion to

dismiss may result in a recommendation that the motion be granted as unopposed or the action be

dismissed for failure to prosecute. See M.D. Tenn. R. 7.01(a)(3) (response).

        It is so ORDERED.

                                                      ____________________________________
                                                      ALISTAIR E. NEWBERN
                                                      United States Magistrate Judge




      Case 3:22-cv-00566 Document 35 Filed 08/30/22 Page 1 of 1 PageID #: 288
